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 1   MICHAEL A. JACOBS (CA SBN 111664)
     MJacobs@mofo.com
 2   ARTURO J. GONZÁLEZ (CA SBN 121490)
     AGonzalez@mofo.com
 3   ERIC A. TATE (CA SBN 178719)
     ETate@mofo.com
 4   MORRISON & FOERSTER LLP
     425 Market Street
 5   San Francisco, California 94105-2482
     Telephone:    415.268.7000
 6   Facsimile:    415.268.7522
 7   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.,
 8   OTTOMOTTO LLC, and OTTO TRUCKING LLC

 9   KAREN L. DUNN (Pro Hac Vice)
     kdunn@bsfllp.com
10   HAMISH P.M. HUME (Pro Hac Vice)
     hhume@bsfllp.com
11   BOIES SCHILLER FLEXNER LLP
     1401 New York Avenue, N.W.
12   Washington DC 20005
     Telephone:   202.237.2727
13   Facsimile:   202.237.6131

14   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.
15   and OTTOMOTTO LLC

16                                  UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
18                                        SAN FRANCISCO DIVISION
19   WAYMO LLC,                                              Case No.      3:17-cv-00939-WHA
20                           Plaintiff,                      SUPPLEMENTAL DECLARATION
                                                             OF KEVIN FAULKNER IN SUPPORT
21           v.                                              OF DEFENDANTS’ SUR-REPLY TO
                                                             PLAINTIFF WAYMO LLC’S
22   UBER TECHNOLOGIES, INC.,                                MOTION FOR PRELIMINARY
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                       INJUNCTION
23
                             Defendants.                     Date:    May 3, 2017
24                                                           Time:    7:30 a.m.
                                                             Ctrm:    8, 19th Floor
25                                                           Judge:   The Honorable William Alsup
26                                                           Trial Date: October 2, 2017
27
28

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 1                       SUPPLEMENTAL DECLARATION OF KEVIN FAULKNER

 2          I, Kevin Faulkner, declare as follows:

 3          1.      I am a Managing Director and head of the New York digital forensics lab at Stroz

 4   Friedberg. My April 7, 2017 declaration in support of Uber’s opposition to Waymo’s motion for

 5   preliminary injunction set forth Stroz Friedberg’s retention to investigate whether any Waymo
 6   confidential material was placed on Uber’s computer systems, and my background and
 7   experience in digital forensics. This declaration contains an update on Uber’s efforts to search for

 8   Waymo confidential materials. I make this declaration based on personal knowledge and, if

 9   called as a witness, I would testify to the facts listed below.

10          2.      Uber has made extraordinary progress in its investigation since April 7. Stroz
11   Friedberg has a team of over 40 professional staff actively working to identify, preserve, collect,

12   and process electronically stored information to search for Waymo confidential materials to the

13   extent they exist anywhere at Uber. To date, we have forensically collected over 229 terabytes of

14   data, which is a volume among the greatest of any project I have worked on in my 13 years in this

15   industry. From the date of our retention on March 15, 2017, the Stroz Friedberg team has

16   invested over 2,600 hours in this effort.

17          3.      To date, Stroz Friedberg has imaged the workstations of 131 employees, which I

18   understand constitutes all former Google employees who are now at Uber as well as all of the

19   employees implicated in the Court’s April 6, 2017 Discovery Order (the “April 6 Order”) [Docket

20   163]. The Uber employees subject to the April 6 Order have a total of 196 devices. I expect that

21   at least 160 of these devices (approximately 82%) will have been processed into our search

22   application Relativity by the end of this week. This includes all “primary” workstations for these

23   custodians, as many of these employees use two, if not three or four computers; I understand that

24   many of these secondary machines are used in labs for collecting testing data.

25          4.      Regarding email, for the custodians subject to the April 6 Order, we have

26   collected, processed and searched each custodians’ mailbox and made the search results available

27   in our Relativity review platform for counsel’s review.
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 1          5.      Regarding Google Drive, for the custodians subject to the April 6 Order, we have

 2   collected, processed and made all keyword responsive Google Drive files available in Relativity.

 3   Because of known problems with searching and exporting files from Google Drive, Stroz

 4   Friedberg developed a custom API script for identifying search term hits within Drive to

 5   overcome these problems. We are performing a quality control review of these search processes
 6   and may have a small supplemental set to add, but for the most part the Google Drive search is
 7   complete.

 8          6.      Regarding LiDAR-related servers at Uber, by the end of this week, I expect Stroz

 9   Friedberg will have finished our searches of all of these servers, with the exception of a massive

10   server called Nas1.int.uberatc.com (“Nas1”). Nas1 has approximately 113 terabytes of storage
11   capacity, so I expect that our searches for Waymo materials could take up to an additional week.

12          7.      Stroz Friedberg is working with counsel for Uber to review the results of all of

13   these searches. As noted in my April 10, 2017 Declaration, Waymo’s overly broad search criteria

14   adds significant burden to this process. The Waymo SVN files contain numerous commonly used

15   filenames and other non-unique content that can appear on any computer with Altium or other

16   electrical engineering applications. For this reason, the search results continue to contain

17   thousands of “false positive” files that take time for Stroz Friedberg and counsel to sort through

18   and review.1 To provide some sense of the scale of this issue, as of April 27, 2017, there are over

19   600,000 family-inclusive documents responsive to the keywords, and 3,250 files that match by

20   file name. Though I am not a subject matter expert in LiDAR-related electrical engineering, in

21   my sampling of these files I have yet to see any files that appear to constitute legitimate Waymo

22   confidential materials.

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25          1
               On April 14, 2017, at the direction of the Special Master, Uber asked Waymo to agree to
     certain revisions to the search criteria. Uber requested the removal of 107 unique hash values,
26   104 unique filenames, and 10 search terms. As of the date of this declaration, I understand that
     Waymo has agreed to remove the 107 unique hash values, but only three of the 104 unique
27   filenames. As a result, the Waymo filenames we must search for continue to include common
     names like “notes.txt,” “Status Report.txt,” and “readme.txt.” Of the 3,250 matching filenames,
28   1,279 are entitled “Status Report.txt.”
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 1          8.      Regarding files that match by MD5 hash value, to date we have identified a total

 2   of 402 MD5 hash hits, which consist of nine unique hash values. These files are all

 3   PrjPCBStructure, tools, or attrlist flies. I understand from the declaration of Asheem Linaval that
 4   PrjPCBStructure is a standard file type that describes the file hierarchy and that it is unsurprising

 5   that there would be hash matches. I further understand from Mr. Linaval’s declaration that attrlist
 6   files contain generic parameters of printed circuit boards that can generate matches when default
 7   settings are used.
 8          I declare under the penalty of perjury under the laws of the United States of America that

 9   the foregoing is true and correct. Executed this 28th day of April, 2017, in London, United
10   Kingdom.

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12                                                                      Kevin Faulkner
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     SUPPLEMENTAL FAULKNER DECL. ISO DEFENDANTS’ SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
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